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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                           Civil No. 1:20-cv-24721-Ungaro/Reid
 _________________________________
                                       )
 FEDERAL TRADE COMMISSION, )
                                       )
        Plaintiff,                     )
                                       )
            v.                         )
                                       )
 DIGITAL INCOME SYSTEM, INC., )
   a Florida corporation,              )
                                       )
 DEREK JONES FOLEY, aka Derek )
   Jones, individually and as an owner,)
   officer, and/or manager of          )
   Digital Income System, Inc.,        )
                                       )
 WILLIAM FOLEY, individually and )
   as an owner, officer, and/or        )
   manager of Digital Income           )
   System, Inc.,                       )
                                       )
 CHRISTOPHER BRANDON FRYE, )
   Individually,                       )
                                       )
 JENNIFER HEDRICK,                     )
   Individually, and                   )
                                       )
 KAITLYN SCOTT,                        )
   Individually,                       )
                                       )
        Defendants.                    )
 _________________________________)

                               NOTICE OF MEDIATOR
        Plaintiff, Federal Trade Commission, notifies the Court that the Plaintiff and the
 Defendants have agreed to a mediator for this case. Pamela Perry, one of the attorneys on the
 Court’s approved mediator list, has been selected. Her address is 1501 Venera Avenue, Suite
 300, Coral Gables, FL 33140; her phone number is 305-670-9800; her fax number is 305-670-
 9933; and her e-mail address is pam@pamperrylaw.com. The parties will work with the


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 mediator to determine the best date for the mediation, keeping in mind that the deadline the
 Court has established for completing the mediation is May 8, 2021.

 Date: January 4, 2021                               Respectfully submitted,

                                                     /s/ Harold E. Kirtz
                                                     HAROLD E. KIRTZ
                                                     Florida Special Bar Number A5500743
                                                     LARA TUMEH
                                                     Florida Special Bar Number A5502699
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                                                     Attorneys for Plaintiff
                                                     FEDERAL TRADE COMMISSION




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                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing NOTIC OF MEDIATOR
        was served via CM/ECF system on January 4, 2021, upon all counsels of record listed
        below:

 Julio Gutierrez, Esq.
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 Edward Maldonado, Esq.
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 and will be emailed on January 4, 2021, to:

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                                               /s/ Harold E. Kirtz
                                               HAROLD E. KIRTZ
                                               Florida Special Bar Number A5500743
                                               Federal Trade Commission
                                                 3
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                                    Attorney for Plaintiff
                                    FEDERAL TRADE COMMISSION




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